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   IN THE DISTRICT COURT OF THE UNITED STATES

                    for the Western District of New York
                                   ____________________

                                                        October 2019 GRAND JURY
                                                        (Impaneled 10/18/2019)

 THE UNITED STATES OF AMERICA                           SUPERSEDING INDICTMENT
                                                               20-CR-104-A
        -vs-
                                                        Violations:
 JOSEPH BELLA                                           Title 18, United States Code,
                                                        Sections 922(g)(3), 924(c)(1)(A)(i), and
                                                        875(c); and
                                                        Title 21, United States Code, Sections
                                                        841(a)(1) and 856(a)(1)
                                                        (8 Counts and Forfeiture Allegation)




                                         COUNT 1

          (Possession with the Intent to Distribute and Distribution of Cocaine)

                               The Grand Jury Charges That:

       Beginning in or about 2011 and continuing until in or about August of 2017, the exact

dates being unknown, in the Western District of New York, the defendant, JOSEPH BELLA,

did knowingly, intentionally, and unlawfully possess with intent to distribute, and distribute,

cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).
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                                          COUNT 2

          (Possession with the Intent to Distribute and Distribution of Cocaine)

                           The Grand Jury Further Charges That:

       Beginning in or about the late Spring of 2018 and continuing until in or about October

or November of 2018, the exact dates being unknown, in the Western District of New York,

the defendant, JOSEPH BELLA, did knowingly, intentionally, and unlawfully possess with

intent to distribute, and distribute, cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                          COUNT 3

          (Possession with the Intent to Distribute and Distribution of Cocaine)

                           The Grand Jury Further Charges That:

       On or about April 23, 2020, in the Western District of New York, the defendant,

JOSEPH BELLA, did knowingly, intentionally, and unlawfully possess with intent to

distribute cocaine, a Schedule II controlled substance.

       All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).



                                          COUNT 4

                          (Maintaining a Drug-Involved Premises)

                           The Grand Jury Further Charges That:

       On or about April 23, 2020, in the Western District of New York, the defendant,

JOSEPH BELLA, did knowingly, intentionally, and unlawfully use and maintain a place,

that is, the premises at 224 Summer Street, Buffalo, New York, for the purpose of



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manufacturing, distributing, and using marijuana, delt9-tetrahydrocannabinol, cannabinol,

3,4-methylenedioxymethamphetamine (MDMA), and psilocybin, Schedule I controlled

substances; and cocaine and lisdexamfetamine, Schedule II controlled substances.

       All in violation of Title 21, United States Code, Section 856(a)(1).



                                         COUNT 5

              (Possession of a Firearm in Furtherance of Drug Trafficking)

                          The Grand Jury Further Charges That:

       On or about April 23, 2020, in the Western District of New York, the defendant,

JOSEPH BELLA, in furtherance of drug trafficking crimes for which he may be prosecuted

in a court of the United States, that is, violations of Title 21, United States Code, Sections

841(a)(1) and 856(a)(1), committed in the manner set forth in Counts 3 and 4 of this

Superseding Indictment, the allegations of which are incorporated herein by reference, did

knowingly and unlawfully possess a firearm.

       All in violation of Title 18, United States Code, Section 924(c)(1)(A)(i).



                                         COUNT 6

(Possession of Firearm and Ammunition by an Unlawful User of Controlled Substances)

                          The Grand Jury Further Charges That:

       On or about April 23, 2020, in the Western District of New York, the defendant

JOSEPH BELLA, knowing he was then an unlawful user of controlled substances as defined

in Title 21, United States Code, Section 802, that is, marijuana, delt9-tetrahydrocannabinol,

cannabinol, 3,4-methylenedioxymethamphetamine (MDMA), and psilocybin, Schedule I



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controlled substances; and cocaine and lisdexamfetamine, Schedule II controlled substances,

unlawfully did knowingly possess, in and affecting commerce, a firearm and ammunition,

namely:

       a.     One Harrington and Richardson, model Topper 88, 12-gauge shotgun,
              bearing serial number AU519161;

       b.     Ten 12-gauge rounds of ammunition labeled “REMINGTON 12 GA”
              on the headstamp;

       c.     33 9mm Luger caliber rounds of ammunition labeled “Blazer 9mm
              LUGER” on the headstamp; and

       d.     40 .223 REM caliber rounds of ammunition labeled “Tulammo 223
              Rem” on the headstamp.


       All in violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).



                                         COUNT 7

               (Interstate Communication Threatening to Injure a Person)

                          The Grand Jury Further Charges That:

       On or about December 25, 2018, in the Western District of New York, and elsewhere,

the defendant, JOSEPH BELLA, did knowingly, willfully, and unlawfully, and for the

purpose of issuing a threat and with knowledge that the communication would be viewed as

a threat, transmit communications in interstate commerce, that is, a message on the internet

website “Facebook” which traveled between the State of New York and State of California,

which contained threats to injure the person of another, specifically, Victim 1, a person known

to the Grand Jury.

       All in violation of Title 18, United States Code, Section 875(c).




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                                          COUNT 8

                (Interstate Communication Threatening to Injure a Person)

                           The Grand Jury Further Charges That:

       On or about October 7, 2019, in the Western District of New York, and elsewhere, the

defendant, JOSEPH BELLA, did knowingly, willfully, and unlawfully, and for the purpose

of issuing a threat and with knowledge that the communication would be viewed as a threat,

transmit communications in interstate commerce, that is, a message on the internet website

“Facebook” which traveled between the State of New York and the State of California, which

contained threats to injure the person of another, specifically, Victim 2, a person known to

the Grand Jury.

       All in violation of Title 18, United States Code, Section 875(c).



                                 FORFEITURE ALLEGATION

                                 The Grand Jury Alleges That:

       Upon conviction of Counts 1 through 6 of this Superseding Indictment, or any one of

them, the defendant, JOSEPH BELLA, shall forfeit all his right, title, and interest to the

United States of any firearms and ammunition involved and used in the commission of the

offense, and found in his possession or under his immediate control at the time of arrest,

including, but not limited to:

       a.     One Harrington and Richardson, model Topper 88, 12-gauge shotgun,
              bearing serial number AU519161;

       b.     Ten 12-gauge rounds of ammunition labeled “REMINGTON 12 GA”
              on the headstamp;

       c.     33 9mm Luger caliber rounds of ammunition labeled “Blazer 9mm
              LUGER” on the headstamp; and


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      d.     40 .223 REM caliber rounds of ammunition labeled “Tulammo 223
             Rem” on the headstamp.


      All pursuant to Title 18, United States Code, Sections 924(d) and 3665, and Title

28, United States Code, Section 2461(c).



      DATED: Buffalo, New York, February 25, 2021.



                                           JAMES P. KENNEDY, JR.
                                           United States Attorney


                                 BY:       S/NICHOLAS T. COOPER
                                           Assistant United States Attorney
                                           United States Attorney’s Office
                                           Western District of New York
                                           138 Delaware Avenue
                                           Buffalo, New York 14202
                                           716/843-5830
                                           Nicholas.Cooper@usdoj.gov


A TRUE BILL:

S/FOREPERSON




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